Case 2:18-cv-03893-RGK-AGR Document 57-4 Filed 03/08/19 Page 1 of 10 Page ID #:359




                         EXHIBIT C
Case 2:18-cv-03893-RGK-AGR Document 57-4 Filed 03/08/19 Page 2 of 10 Page ID #:360




                                          December 19, 2018
                                                                                           OUR FILE   NUMBER

                                                                                             SEV05-13
   BY EMAIL

   Steven L. Woodrow
   Woodrow & Peluso
   3900 East Mexico Avenue, Suite 300
   Denver, CO 80210
   swoodrow@woodrowpeluso.com

          Re:      Munoz v. 7-Eleven, Inc. et al.
                   U.S. District Court, Central District Case No. 2:18-cv-03893 RGK (AGR)

   Dear Counsel:

          This responds to your December 12, 2018 letter, and also initiates the meet-and-confer
   process on the topics identified in Plaintiff’s Rule 30(b)(6) deposition notice. Defendant 7-
   Eleven, Inc. (“7-Eleven”) is raising those issues now in the hopes the parties will be able to
   resolve them in advance of the agreed-upon January 23, 2019 date for that deposition.

          After you have a chance to review this letter, we propose holding a telephonic call
   between counsel to attempt to resolve these matters. As noted by email on December 13, 2018,
   we can be available for such a call on December 20 or 21, 2018. If neither of those dates work,
   we will need to set a time for early January 2019.

   7-Eleven’s Special Interrogatory Responses:1

          Interrogatory No. 1:

           This interrogatory asked that 7-Eleven “[i]dentify and describe all steps taken and efforts
   made by [7-Eleven] to comply with the FCRA or any FTC Advisory Opinions.” 7-Eleven’s
   response is based on the issues actually within the scope of this lawsuit – i.e. whether its use of
   the background check disclosure form (“Form”) Plaintiff executed violated the 15 U.S.C.
   § 1681b(b)(2)(A), and, even if so, whether such a violation could be considered willful as that
   term is understood under the FCRA.



   1
     For ease of reference, 7-Eleven is following the order Plaintiff used in his December 12, 2018
   letter.
Case 2:18-cv-03893-RGK-AGR Document 57-4 Filed 03/08/19 Page 3 of 10 Page ID #:361


   Steven L. Woodrow
   December 19, 2018
   Page 2


           7-Eleven notes that the interrogatory is incredibly, improperly, overbroad given (1) the
   FCRA consists of numerous statutory provisions (i.e. 15 U.S.C. §§ 1681-1681x); and (2) just two
   subsections of the FCRA – 15 U.S.C. §§ 1681b(b)(2)(A) and 1681n(a) – are relevant to
   Plaintiff’s claims. Your letter appears to recognize this as it adds the provision “regarding the
   FCRA’s background check provisions,” which is not in the actual interrogatory. However, even
   then, this limitation only minorly addresses the overbreadth problem as this lawsuit involves just
   one issue relating to the FCRA’s background check provisions – i.e. whether 7-Eleven willfully
   violated the FCRA with the one-page Form because it contained too much information. Further,
   your request for 7-Eleven to disclose “the steps that led [it] to use” seeks information that would
   not have any relevance to this lawsuit because such steps do not have anything to do with (1)
   whether the Form violated 15 U.S.C. § 1681b(b)(2)(A); or (2) whether 7-Eleven’s alleged
   violation could be considered willful as that term has been defined and interpreted in the FCRA.
   On this second point, 7-Eleven reminds Plaintiff that the willfulness inquiry asks whether – from
   an objective standpoint – 7-Eleven either knowingly or recklessly violated 15 U.S.C. §
   1681b(b)(2)(A) with the Form in light of the existing legal authorities on the matter. See Shaw v.
   Experian Info. Solutions, Inc., 891 F.3d 749, 760-61 (9th Cir. 2018). Thus, it is neither here nor
   there how a company subjectively decided to engage in conduct allegedly violative of the FCRA
   on this issue. See id. Finally, this line of inquiry potentially invades the attorney-client privilege
   given the breadth of the interrogatory.

           7-Eleven is willing to continue meet-and-confer efforts on this interrogatory, but
   Plaintiff’s December 12, 2018 letter does nothing to rectify the above deficiencies or propose
   any possible solution to this impasse.

          Interrogatory No. 2:

           This interrogatory asks 7-Eleven to identify those individuals who executed the Form,
   and 7-Eleven agreed to do so in its response. However, because such information is private to
   class members, 7-Eleven agreed to provide this information to the third-party administrator as
   the relevance this information has stems from the need to provide notice to the class, so this
   approach ensures an appropriate balance between keeping this generally confidential information
   confidential while, at the same time, completing the necessary notice process.

           Your December 12, 2018 letter demands that the objections made to this interrogatory be
   withdrawn, but it provides no substantive explanation as to why they should be. In addition, not
   one of the decisions Plaintiff’s letter cites on this interrogatory supports the claim that a plaintiff
   and his counsel should be given the private contact information of over 57,000 people directly
   and without limitation in a case such as this. Further, Plaintiff’s claim that he needs this contact
   information is directly at odds with the positions he has taken about how it will not be necessary
   for this case to proceed with direct involvement from class members. Finally, 7-Eleven notes
   that providing this information to the administrator rather than Plaintiff and his counsel directly
   does not – in any way, shape, or form – prevent the class notice from being disseminated, and
   will also enable any class member who wishes to speak to Plaintiff and his counsel the means by
   which to do so. Therefore, although 7-Eleven remains willing to continue meet-and-confer
   efforts on this interrogatory, Plaintiff’s December 12, 2018 letter does not substantiate his claim
Case 2:18-cv-03893-RGK-AGR Document 57-4 Filed 03/08/19 Page 4 of 10 Page ID #:362


   Steven L. Woodrow
   December 19, 2018
   Page 3


   that he and his counsel should be given the contact information of class members directly and
   without limitation.

          Interrogatory No. 3:

           This interrogatory asked 7-Eleven to “[i]dentify and describe the location and manner in
   which applicant and employee personnel files are maintained.” 7-Eleven answered this
   interrogatory with respect to the Form as that is the only possible relevance 7-Eleven’s personnel
   files have to this lawsuit. Therefore, Plaintiff’s claim that this response is non-responsive is
   wrong – rather, the response provided is responsive to the extent this interrogatory sought
   information within the permissible scope of discovery.

           Plaintiff’s December 12, 2018 letter does not cite to any authority that would support his
   claim that this information has any relevance. In addition, although the letter speculates that the
   information may “bear on the manageability of maintaining this case as a class action” and
   predominance, it does not provide any explanation as to why that might be. Moreover, neither of
   those issues came up during briefing on certification. As such, although 7-Eleven remains
   willing to continue meet-and-confer efforts on this interrogatory, Plaintiff’s December 12, 2018
   letter does not substantiate his claim that this interrogatory seeks potentially relevant information
   beyond that already provided in 7-Eleven’s response.2

          Interrogatory No. 4:

           This interrogatory asked 7-Eleven to “[i]dentify and describe any training process that
   employees receive regarding procuring or relying on background checks when making
   employment decisions under the FCRA.” Once again, this interrogatory is absurdly overbroad as
   this lawsuit only involves the (small) portion of the FCRA relating to the disclosure requirements
   that a company must follow in order to obtain such a check. Therefore, 7-Eleven’s response here
   is based on the topics actually at issue in this lawsuit, i.e. the use of the Form, and Plaintiff’s
   claim that it is non-responsive lacks merit. Moreover, Plaintiff’s December 12, 2018 letter once
   again fails to provide any meaningful substantiation as to why this information is within the
   permissible scope of discovery. This is unsurprising because – as noted above – whether the
   Form complies with 15 U.S.C. § 1681b(b)(2)(A) and whether any violation of same was willful
   is based on an objective inquiry. As such, although 7-Eleven remains willing to continue meet-
   and-confer efforts on this interrogatory, Plaintiff’s December 12, 2018 letter does not
   substantiate his claim that this interrogatory seeks potentially relevant information beyond that
   already provided in 7-Eleven’s response.

          Interrogatory No. 5:

           Plaintiff’s December 12, 2018 letter claims 7-Eleven “fails to answer” this interrogatory.
   That is a factually false statement. Moreover, although your letter asks for a response that notes
   2
     7-Eleven notes as a practical matter one possible solution to this issue is for 7-Eleven to agree
   to produce a Rule 30(b)(6) deponent on this topic, which is Topic No. 10 in the Rule 30(b)(6)
   notice already provided.
Case 2:18-cv-03893-RGK-AGR Document 57-4 Filed 03/08/19 Page 5 of 10 Page ID #:363


   Steven L. Woodrow
   December 19, 2018
   Page 4


   whether the Form was provided in person, online, or by mail to Plaintiff, and the date the form
   was provided to Plaintiff, such specifics are not directly requested in this interrogatory. If that is
   the information Plaintiff is seeking, it is ascertainable from Plaintiff’s personnel file. In any
   event, 7-Eleven will provide a supplemental response to this interrogatory with that information
   so long as it resolves the disputes concerning this interrogatory.

   7-Eleven’s Requests For Production Responses:

          Preliminary Statement:

          Simply put, Plaintiff’s December 12, 2018 letter attempts to make a mountain out of a
   molehill on this statement. The statement merely notes numerous default rules that would apply
   even without it. Moreover, no documents have been withheld from production based on the
   preliminary statement.

          Request for Production No. 1:

           This request demanded 7-Eleven produce “[a]ll documents sufficient to identify 7-
   Eleven’s complete hiring policies and procedures in effect when Munoz applied to work for 7-
   Eleven.” The request is absurdly overbroad. There are only three issues to address in this
   lawsuit following the Court’s certification order:3 (1) whether the Form complies with 15 U.S.C.
   § 1681b(b)(2)(A); (2) presuming the Form does not comply with 15 U.S.C. § 1681b(b)(2)(A),
   whether 7-Eleven’s violation of it with the Form was willful; and (3) whether Plaintiff was in
   fact confused by the Form as he claims. This request does not have anything to do with any of
   these three issues. Further, as phrased, it would require 7-Eleven to produce every document it
   has related to hiring across the country.

           Plaintiff’s December 12, 2018 letter implicitly recognizes these defects as it makes a
   proposal to limit the scope of the request. Even so, as phrased, the proposal is ambiguous. To
   the extent the proposal is that 7-Eleven needs to produce Plaintiff’s hiring paperwork, 7-Eleven
   is willing to do so. However, if the proposal includes a broader scope than that, the parties need
   to engage in further meet-and-confer efforts on this obviously overbroad request.

          Request for Production No. 2:

          This request demanded that 7-Eleven produce “[a]ll documents sufficient to identify all
   of [7-Eleven’s] policies and procedures for complying with the FCRA.” Again, the request is
   absurdly overbroad because, as phrased, it would require the production of every document that
   has any bearing on the FCRA whatsoever. Moreover, as also noted above, this lawsuit is not
   some general audit into 7-Eleven’s FCRA compliance procedures. Rather, it is about (1)
   whether the Form complies with 15 U.S.C. § 1681b(b)(2)(A), i.e. just one subsection of the
   3
    7-Eleven notes that it respectfully disagrees with this ruling – especially with its failure to
   appreciate the need to ascertain whether a person truly was confused by the Form prior to being
   able to award a statutory penalty under the FCRA. Even so, given the case’s current procedural
   posture, the three issues stated herein are what remains at issue.
Case 2:18-cv-03893-RGK-AGR Document 57-4 Filed 03/08/19 Page 6 of 10 Page ID #:364


   Steven L. Woodrow
   December 19, 2018
   Page 5


   FCRA, which goes from 15 U.S.C. § 1681 – 1681x; (2) presuming the Form does not comply
   with 15 U.S.C. § 1681b(b)(2)(A), whether 7-Eleven’s violation of it with the Form was willful as
   that term is defined by 15 U.S.C. § 1681n(a); and (3) whether Plaintiff was in fact confused by
   the Form as he claims. Therefore, the request is absurdly overbroad even if it had not been
   awkwardly phrased. Further, and more tellingly, Plaintiff’s December 12, 2018 letter – which
   conspicuously fails to cite to any authorities on this request – indicates a fundamental
   misunderstanding of how to analyze whether an alleged violation of the FCRA is willful.
   Plaintiff’s subjective view of 7-Eleven’s “compliance with other portions of the FCRA” has
   nothing to do with willfulness. Rather, this issue is focused solely on whether – from an
   objective standpoint – 7-Eleven’s use of the Form constituted a knowing or reckless violation of
   the FCRA based on the relevant legal authorities at the time the Form was used. See Shaw, 891
   F.3d at 760-61. Finally, this line of inquiry potentially invades the attorney-client privilege
   given the breadth of the request.

          In sum, although 7-Eleven remains willing to continue meet-and-confer efforts on this
   request, Plaintiff’s December 12, 2018 letter does not substantiate his claim that this request
   seeks potentially relevant documentation or that it is not absurdly overbroad. Therefore, a
   supplemental response will not be provided at this time.

          Request for Production No. 3:

           This request demanded that 7-Eleven produce “[a]ll documents sufficient to identify all
   of [7-Eleven’s] policies and procedures for complying with the FCRA.” Again, due to its
   awkward phrasing, this request would compel the production of every single document 7-Eleven
   has concerning its personnel files. Moreover, the request seeks the same information as that
   being sought in an interrogatory – which is doubly improper given the information is well
   beyond the permissible scope of discovery in this lawsuit in any event. Further, 7-Eleven notes
   the following statement is not well taken: “[t]he reality is that this case is a class action, and the
   manner by which 7-Eleven maintains its files speaks to continued manageability of the Class, the
   ability to identify class members, and damages.” This statement does not come anywhere near
   close to explaining the reality of the situation. Rather, the reality is (1) personnel files have
   nothing to do with the manageability of the class – as shown by the fact, inter alia, the issue was
   not raised even once during any of the briefing on class certification; (2) personnel files and
   identifying class members have nothing to do with one another – as 7-Eleven has stated, it is able
   to identify who has executed the Form and is willing to provide those individuals’ contact
   information to the third-party administrator to be utilized for the Class notice; and (3) the
   damages Plaintiff is seeking in this lawsuit are preset, statutory damages, of $100 per person, so
   the damages being sought in and personnel files have no relevance to one another.

          Request for Production No. 4:

            This request demanded that 7-Eleven produce “[a]ll documents sufficient to identify any
   training of [7-Eleven’s] personnel with respect to any aspect of the FCRA . . .” The awkward
   phrasing once again would make any document that has anything to do with the FCRA
   responsive. Moreover, even if it was not awkwardly phrased, the request once again seeks
   documentation that has nothing whatsoever to do with the issues in this lawsuit given the entire
Case 2:18-cv-03893-RGK-AGR Document 57-4 Filed 03/08/19 Page 7 of 10 Page ID #:365


   Steven L. Woodrow
   December 19, 2018
   Page 6


   FCRA is not at issue here. Further, as noted above, Plaintiff’s contention that willfulness under
   the FCRA is ascertained by some limitless audit into all FCRA compliance is wrong. Rather, as
   the Ninth Circuit recently made clear, that inquiry here will be focused on whether 7-Eleven’s
   use of the Form – from an objective standpoint – constituted a knowing or reckless violation of
   the FCRA in light of the then-existing FCRA authorities relevant to that issue. See Shaw, 891
   F.3d at 760-61. Although 7-Eleven remains willing to continue meet-and-confer efforts on this
   request, Plaintiff’s December 12, 2018 letter does not substantiate his claim that this request
   seeks potentially relevant documentation or that it is not improperly overbroad. As such, a
   supplemental response will not be provided at this time.

          Request for Production No. 5:

           This request demanded that 7-Eleven produce “[a]ll documents sufficient to identify”
   class members in this lawsuit. As such, this awkward phrasing would have required 7-Eleven to
   produce essentially any and all documents it has on any of the putative class members. Further,
   even if not awkwardly phrased, as 7-Eleven’s objections note, the request is improper because
   the relevant information being sought is duplicative to Interrogatory No. 2, and, as noted above,
   that information will be provided to the class action administrator for notice purposes. Finally,
   7-Eleven notes that the explanation provided above regarding why Plaintiff’s claim that he and
   his counsel should be provided with this private information directly and without limitation lacks
   merits applies equally to this request.

          Request for Production No. 6:

           As previously stated via email correspondence, the 57,000 number given in the
   interrogatories refers to every person who executed the Form.

          Request for Production No. 7:

           This request demanded that 7-Eleven produce “[a]ll documents sufficient to identify any
   emails, letters, phone calls, or other communications exchanged between Plaintiff and 7-Eleven.”
   Due to this awkward phrasing, the call of the request seeks for more than just those
   communications that exist between 7-Eleven and Plaintiff in document form, which is why 7-
   Eleven’s response is limited to the actual issues within the scope of this lawsuit. Your letter
   indicates that Plaintiff is seeking the communications he has had with 7-Eleven that 7-Eleven has
   in document form. Further meet-and-confer communications need to be taken to clarify what
   exactly Plaintiff is seeking.

          Request for Production No. 8:

          Plaintiff’s December 12, 2018 letter characterization of what is being sought by this
   request is not tethered to the actual request. In light of that, the parties will need to meet-and-
   confer on this request further telephonically so Plaintiff can have an opportunity to make clear
   what he is actually seeking in this request.
Case 2:18-cv-03893-RGK-AGR Document 57-4 Filed 03/08/19 Page 8 of 10 Page ID #:366


   Steven L. Woodrow
   December 19, 2018
   Page 7



          Request for Production No. 9:

           As noted in the response, 7-Eleven is not aware of any insurance coverage it may have
   for the claims alleged in this lawsuit, which, unsurprisingly, is why no coverage has been sought.

          Request for Production No. 10:

            This request demanded that 7-Eleven produce “[a]ll documents sufficient to identify the
   size of your legal department and annual budget for legal matters.” The December 12, 2018
   letter’s claim that this phrasing limits the scope of what is being sought is inaccurate as the call
   of this request – due to its awkward phrasing – would require the production of essentially every
   document relating to 7-Eleven’s legal department. Moreover, Plaintiff’s contention that this
   request “goes directly to 7-Eleven’s willfulness” – which, again, is not supported by even one
   citation to any legal authority – shows Plaintiff has a fundamental misunderstanding of what
   constitutes willfulness under the FCRA. As noted numerous times above, that inquiry will focus
   on whether – from an objective standpoint – 7-Eleven’s use of the Form constituted a knowing or
   reckless violation of 15 U.S.C. § 1681b(b)(2)(A) in light of the then-existing relevant legal
   authorities.

          Request for Production No. 11:

           Once again, this request attempts to obtain contact information of class members without
   limitation. As noted above, Plaintiff’s claim that he and his counsel should receive such
   information without limitation lacks merit.

          Request for Production No. 13:

           This request demanded that 7-Eleven produce “[a]ll documents sufficient to identify any
   provision of 7-Eleven’s franchise agreement that mentions, references, or discussed the
   procurement of consumer reports regarding potential and current employees of the franchisees.”
   As this lawsuit does not pertain to employees of franchisees, the request is not reasonably drawn
   to lead to the discovery of admissible evidence. Further, although your letter tries to relate this
   to the willfulness prong, you fail to provide any authority to support this position.

          Request for Production No. 14:

           This request demanded that 7-Eleven produce “[a]ll documents sufficient to identify the
   total number of Persons about whom 7-Eleven procured a consumer report regarding after [sic]
   they signed the Disclosure Form.” The request’s awkward phrasing makes an already
   impermissibly overbroad request even more impermissibly overbroad, and 7-Eleven has already
   provided this number.
Case 2:18-cv-03893-RGK-AGR Document 57-4 Filed 03/08/19 Page 9 of 10 Page ID #:367


   Steven L. Woodrow
   December 19, 2018
   Page 8


          Request for Production No. 15:

           This request demanded that 7-Eleven produce “[a]ll documents sufficient to identify
   internal communications related to the use of Sterling Talent Solutions.” The request is
   obviously improperly overbroad as it is not limited to the actual issues in this lawsuit, and, as
   Plaintiff knows, 7-Eleven’s business relationship with Sterling involves far more than just the
   use of the Form. Although 7-Eleven remains willing to meet-and-confer over an appropriate
   scope to this request, given its current phrasing a supplemental response will not be provided.

          Request for Production No. 18:

           No witness statements have been obtained beyond those made at the direction of this firm
   following the initiation of this lawsuit. As such, no further information concerning privilege
   issues needs to be provided. Moreover, this request – which asks for any statements of any
   possible witnesses – is insanely overbroad, but the December 12, 2018 letter completely ignored
   that obvious defect.

   7-Eleven’s Responses To The Requests For Admission

          Request to Admit No. 1:

           In this request, Plaintiff asked 7-Eleven to admit to Plaintiff’s paraphrasing of the Form.
   One of the objections 7-Eleven made was that it was improper for Plaintiff to seek such an
   admission when the one-page Form speaks for itself. The December 12, 2018 letter
   misinterprets that as a response when it was an objection, and 7-Eleven will stand on the
   objection.

          Request to Admit No. 2:

           To the extent this request sought information relating to disclosure forms not executed by
   Plaintiff was improper and sought information beyond the permissible scope of discovery. As
   such, there is no need to re-answer. As set forth in the Complaint, Plaintiff defined the class to
   include all persons who signed the same form as Plaintiff.

   Plaintiff’s Rule 30(b)(6) Deposition Notice:

          Topic No. 4:

           In this topic, Plaintiff has asked for Rule 30(b)(6) testimony regarding its “policies,
   processes, and procedures for following the FCRA.” However, as noted above, the FCRA goes
   from 15 U.S.C. §§ 1681-1681x, and this lawsuit only pertains to two subsections in two of those
   statutes (15 U.S.C. §§ 1681b(b)(2)(A) and 1681n(a)). As such, a Rule 30(b)(6) deponent will
   only be produced on matters regarding those FCRA provisions actually at issue in this lawsuit.
Case 2:18-cv-03893-RGK-AGR Document 57-4 Filed 03/08/19 Page 10 of 10 Page ID
                                  #:368

 Steven L. Woodrow
 December 19, 2018
 Page 9


        Topic No. 6:

         This topic inserts a request for Rule 30(b)(6) testimony on the size, budget, and access to
 counsel of 7-Eleven’s legal department. Such matters are irrelevant to this lawsuit because, as
 explained above, based on its current posture there are only three issues in play: (1) whether the
 Form complies with 15 U.S.C. § 1681b(b)(2)(A); (2) presuming the Form does not comply with
 15 U.S.C. § 1681b(b)(2)(A), whether 7-Eleven’s violation of it with the Form was willful; and
 (3) whether Plaintiff was in fact confused by the Form as he claims. As such, absent an
 agreement on a more narrow and appropriate scope for this topic, a Rule 30(b)(6) deponent will
 not be provided on this issue.

        Topic Nos. 11, 14, and 15:

         The only form at issue in this lawsuit is the Form. Therefore, a Rule 30(b)(6) deponent
 will not be provided regarding any other forms 7-Eleven may have used.

        Topic No. 13:

         For the reasons explained above, Plaintiff’s attempt to involve franchise agreements in
 this lawsuit is improper, and Rule 30(b)(6) testimony will not be provided on the issue.

                                              Best,



                                              Julie R. Trotter
                                              For Call & Jensen
                                              A Professional Corporation

 DJD:tam
